Case 8:21-cv-01456-VMC-JSS Document 26 Filed 09/22/21 Page 1 of 1 PageID 171




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

ZAHOV 1502 EAST LOUISIANA
AVENUE, LLC,

      Plaintiff,

v.                                                 Case No: 8:21-cv-1456-VMC-JSS

COLONY INSURANCE
COMPANY,

      Defendant.
___________________________________/

                                      ORDER

      THIS MATTER is before the Court on Defendant’s Motion to Compel

(“Motion”) (Dkt. 20) and Plaintiff’s Notice of Compliance (Dkt. 22). As Plaintiff has

responded to the discovery requests at issue, Defendant’s Motion is denied without

prejudice. Defendant may renew the Motion, including the request for attorney’s fees,

if warranted. Accordingly, it is ORDERED that Defendant’s Motion to Compel is

DENIED without prejudice.

      DONE and ORDERED in Tampa, Florida, on September 22, 2021.




Copies furnished to:
Counsel of Record
